Case 3:16-cv-03495-D Document 9 Filed 03/27/17     Page 1 of 33 PageID 139


                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

GEORGE ANIBOWEI                            §
                                           §
Plaintiff                                  §      Civ. Act. No.: 3:16-CV-3495-D
                                           §
v.                                         §
                                           §      PLAINTIFF’S OPPOSITION
                                           §      TO DEFENDANTS’ MOTION
                                           §      TO DISMISS
LORETTA LYNCH, et al.                      §
                                           §
                   Defendants              §
                                           §



                              PLAINTIFF’S OPPOSITION TO
                          DEFENDANTS’ MOTION TO DISMISS
        __________________________________________________________________




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Case 3:16-cv-03495-D Document 9 Filed 03/27/17           Page 2 of 33 PageID 140


                                Table of Contents

1. Introduction………………………………………………………………………………..1



2. Background………………………………………………………………………………..2



3. Legal Standard…………………………………………………………………………….5



4. Argument………………………………………………………………………………….5


    I. Plaintiff has legal standing…………………………………………………………..6



    II. The Court must accept the non-conclusory factual allegations in the complaint as
        true…………………………………………………………………………………..8


   III. Some level of suspicion is Required for seizing, searching and copying US citizen
        Traveler’s electronic devices at the Border ……………………………………….12


   IV. The Suspicionless Search of Mr. Anibowei’s Electronic Device Violated His
       Fourth Amendment Rights…………………………………………………………15

         (1)    The Search of Mr. Anibowei’s Electronic Device was Non-Routine……16

         (2)    The Search of Mr. Anibowei’s Electronic Devices was particularly
                Offensive in Manner …………………………………………………….19

         (3)    The Search of Mr. Anibowei’s Electronic Device Burdened his Expressive
                 And Associational Interests…...………………...……………………....20


    V.    Defendants’ Actions violated the First Amendment……………………………..22

   VI.    Dismissal as to the Non-DHS Defendants is Premature…………………………25


5. Conclusion……………………………………………………………………………….25


                                         i
   Case 3:16-cv-03495-D Document 9 Filed 03/27/17                    Page 3 of 33 PageID 141


                                        Table of Authorities

                                                Cases


Ashcroft v. Iqbal
        129 S. Ct. 1937 (2009)…………………………………………………..........................22

Bell Atl. Corp. v. Twombly
        550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)………………………..........5, 8, 9

Belyea v. Litton Loan Servicing, LLP
       Civ. Action No. 10-10931-DJC, 2011 WL 2884964, at *1 (D. Mass. July 15, 2011)…23

Buckley v. Valeo
       424 U.S. 1 (1976)…………………………………………………………………...........23

Carroll v. United States
        267 U.S. 132 (1925)……………………………………………………………..............13

Chao v. Ballista
630 F. Supp. 2d 170 (D. Mass. 2009)…….…………………………………………….…..........23

Conley v. Gibson
       355 U.S. 41, 8 S. Ct. 99, 2 L.Ed.2d 80 (1957)……………….............................................5

DaimlerChrysler Corporation v. Cuno
      547 U.S. 332 (2006)…………………………………………….........................................6

Decotiis v. Whittemore
       635 F.3d 22 (1st Cir. 2011)………………………………………………………..............8

Gargano v. Liberty Int’l Underwriter, Inc.
      572 F.3d 45 (1st Cir. 2009)…………………………………………………...................8,9

Johnson v. Wash. Times Corp.
     208 F.R.D. 16 (D.D.C. 2002)…………………………………………………...................24

Lamont v. Postmaster Gen.
      381 U.S. 301 (1965)………………………………………..…………………….............22

Lujan v. Defenders of Wildlife
        504 U.S. 555 (1992)…………………………………………………..….......................7,8

Maryland v. Macon
      472 U.S. 463 (1985)……………………………………….……………………..............21


                                                   ii
     Case 3:16-cv-03495-D Document 9 Filed 03/27/17                                               Page 4 of 33 PageID 142


NAACP v. Alabama ex rel. Patterson
     357 U.S. 449 (1958)...........................................................................................................21

Ocasio-Hernández v. Fortuño-Burset
       640 F.3d 1 (1st Cir. 2011)…………………………………………………...................8,23

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       283 F. Supp. 248 (E.D. Ark. 1968) (3 judge court), aff’d per curiam 393 U.S.
14(1968).........................................................................................................................................24

Roaden v. Kentucky
      413 U.S. 496 (1973)………...…………………………………………………..........20, 21

In re Search of 3817 W. West End
        321 F. Supp. 2d 953 (N.D. Ill. 2004)…………………………………………….............20

Spokeo, Inc. v. Robins
      136 S. Ct. 1540 (2016)…………………..…………………………………………...........7

Stanford v. Texas
        379 U.S. 476 (1965)………………………………………………….…………….........21

Shelton v. Tucker,
       364 U.S. 479 (1960)……………………………………………………….......................23

Talley v. California
        362 U.S. 60 (1960)……………………………………………………………….............24

United States v. Alfonso
        759 F.2d 728 (9th Cir. 1985)…………………………………………………................18

United States v. Arnold
       523 F.3d 941 (9th Cir. 2008)………………………………….…………………………15

United States v. Montoya de Hernandez
       473 U.S. 531 (1985)…………………………………………………................12,13,16,21

United States v. Barrow
       448 F.3d 37 (1st Cir. 2006)……………………………………………………................13

United States v. Braks
       842 F.2d 509 (1st Cir. 1988)……………………………………………………..............16

United States v. Bunty,
       617 F. Supp. 2d 359 (E.D. Pa. 2008)………………………………..……………...........19



                                                                        iii
   Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 5 of 33 PageID 143


United States v. Carey
       172 F.3d 1268 (10th Cir. 1999)……………………………………………….................20

United States v. Comprehensive Drug Testing, Inc.
       621 F.3d 1162 (9th Cir. 2010)…………………………………..................................18,19

United States v. Cardona- Sandoval
        6 F.3d 15 (1st Cir. 1993)……………………………………….......................................18

United States v. Cotterman
       637 F.3d 1068 (9th Cir. 2011)……………………………………………….…………..15

United States v. Flores-Montano
       541 U.S. 149 (2004)…………………………………….………….............................13,14

United States v. Furukawa,
       No. 06-145 (DSD/AJB), 2006 WL 3330726, at *2 (D. Minn. Nov. 16, 2006)………….19

United States v. Gourde
       440 F.3d 1065 (9th Cir. 2006) (en banc) (Kleinfeld, J., dissenting)…………..................17

United States v. Hampe
       No. 07-3-B-W, 2007 WL 1192365, at *4 (D. Me. Apr. 18, 2007), aff’d No. CR-07-3-B-
       W, 2007 WL 1806671 (D. Me. June 19, 2007)………………………………………….19

United States v. Hunter
        13 F. Supp. 2d 574 (D. Vt. 1998)……………………………………………….............20

United States v. Ickes
       393 F.3d 501 (4th Cir. 2005)…………………………………………………………….15

United States v. Irving
       452 F.3d 110 (2d Cir. 2006) …………………………………….……………………...19

United States v. Linarez-Delgado
       259 Fed. Appx. 508 (3d Cir. 2007)………………………………………………………15

United States v. Ramsey
       431 U.S. 606 (1977)………………………………………………............12-14, 16, 19-20

United States v. Roberts
       274 F.3d 1007 (5th Cir. 2001)……………………………………………….............19, 24

United States v. Seljan
        547 F.3d 993 (9th Cir. 2008) (Kozinski, J. dissenting)………………………..…...........15



                                                iv
   Case 3:16-cv-03495-D Document 9 Filed 03/27/17          Page 6 of 33 PageID 144


United States v. Warshak
       631 F.3d 266 (6th Cir. 2010)……………………………………….................................17

United States v. Whitted
       541 F.3d 480 (3d Cir. 2008)……………………………………………………..........18,19

Zurcher v. Stanford Daily
      436 U.S. 547 (1978)………………………………….……………………………..........21




                                   Statutes and Rules

Fed. R. Civ. P. 8(b)(6)……………………………………………………………………………15

Fed. R. Civ. P. Rule 12(b)(6)……………………………………………………..…............5, 9,23

U.S. CONST. amend. IV………………………………………………………………………...12




                                   Other Authorities

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       119 Harv. L. Rev. 531, 542 (2005)………………………………………………………18

Raphael Winick, Searches and Seizures of Computers and Computer Data,
      8 Harv. J.L. & Tech. 75, 104 (1994)……………………………………………………18

Susan W. Brenner, Law in an Era of Pervasive Technology, 15 Widener L.J. 667 (2006)……..17




                                            v
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 7 of 33 PageID 145


INTRODUCTION

       The question in this case is whether the government can, without any suspicion, take

an American’s electronic devices from him at the border in order to make copies, retain the

copied information indefinitely, examine and analyze the information, and share that

information with other parts of the federal government and potentially with foreign

governments as well.


       Significantly, the government does not contest that this is what happened to Plaintiff

George Anibowei when he crossed the border on his way home from vacation on October 10,

2016. The government asks this Court to dismiss this case, arguing that neither the Fourth

Amendment’s prohibition on unreasonable searches and seizures nor the First Amendment’s

protections for expressive records and association pose a bar to these actions because its

power to search electronic devices is without limit and effectively beyond judicial review. The

government sees no difference between going through someone’s most private papers and

examining their shoes and contact lens solution, and asserts it is free to take people’s property

from them at the border and hold onto it for weeks, months, or even years, if that is how long,

in its view, it would take to conduct a search.


       This Court should hold that Plaintiff has standing to bring the instant action.

Additionally, the Court should also hold that Plaintiff stated a claim upon which relief can be

granted because the government violated his Fourth and First Amendment rights by seizing,

copying and dissemination of the information on his electronic device.




                                                  1
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                 Page 8 of 33 PageID 146


BACKGROUND

        Plaintiff George Anibowei is a United States Citizen. Plaintiff is a Texas licensed

 attorney, who is engaged in active and substantial practice of law with offices in Dallas,

 Texas. Plaintiff was licensed in Texas in 2002 and his Texas Bar Number is: 24036142.

 Although licensed in the State of Texas in 2002, Plaintiff has been an attorney since 1992,

 having been licensed in Nigeria before immigrating to the United States. Plaintiff is a

 frequent international traveler.

    On October 10, 2016, after a short vacation in Canada, Plaintiff arrived at the

Dallas/Fort Worth International Airport on board American Airlines Flight No. 2609. Upon

arrival at the gate and as passengers were getting ready to disembark, the airline crew

directed all passengers to return to their respective seats as officers of DHS were at the gate

to remove a passenger and that it was important they did so in an orderly manner. Almost

immediately all passengers including the Plaintiff returned to their assigned seats, one of the

crew members walked up to the Plaintiff’s seat and requested some identification. As soon as

Plaintiff tendered his passport, he was informed that the CBP officers were actually at the

gate for the Plaintiff. Plaintiff was then instructed to pick up his hand luggage and

accompany the crew member to the gate of the aircraft. The Plaintiff readily complied with

the instruction and followed the crew member to the gate.

       Upon exiting the Plane, Plaintiff was accosted by armed officers of the CBP who

stated that they were with the Department of Homeland Security and requested that the

Plaintiff accompany them. Despite repeated requests, the two agents did not explain the

reason or the authority for detaining Plaintiff. Instead, they ordered the Plaintiff to place his

cell phone in his pocket for “officer safety” and proceeded to escort the Plaintiff like a


                                                2
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                   Page 9 of 33 PageID 147


common criminal through at least three terminals before arriving at their final destination,

which is an interrogation room in Terminal D of the Dallas/Fort Worth International Airport.

       At the interrogation room, the agents ordered the Plaintiff to empty and place all the

content in his pocket on a table. The Plaintiff placed all the contents of his pocket on the table

as ordered. Thereafter, one of the agents took Plaintiff’s cell phone and directed him to be

seated and wait. When the agent returned a short time later, she was no longer in possession

of Plaintiff’s cellular phone. When Plaintiff asked for his cell phone, he was informed that his

cell phone was being detained for “examination and copying”. Plaintiff was not asked for his

consent and was not presented with a search warrant. Nor was he provided with any

explanation of the purpose of the detention and copying. As authority for taking his cell

phone for examination and copying, he was simply handed a two paged document entitled:

Inspection of Electronic Device, copy of which is herewith attached to Plaintiff’s Complaint.

       Thereafter, the agents continued to detain the Plaintiff and questioned the Plaintiff for

approximately two hours. They questioned Plaintiff regarding his background, personal life

and purpose of his trip to Canada. Significantly, Plaintiff was asked no questions relating to

border control, customs, trade, immigration, or terrorism, and at no point did the agents

suggest that plaintiff had broken the law or that his cell phone contained any illegal material.

Plaintiff answered their questions truthfully and to the best of his ability.

    When Plaintiff was finally allowed to leave, they returned his cell Phone and informed

the Plaintiff that its contents have been copied for examination. However, they did not

indicate what information had been copied from his cell phone, what agencies or individuals

would have access to any copies made, and whether any such copies would ultimately be

destroyed or stored.



                                                 3
Case 3:16-cv-03495-D Document 9 Filed 03/27/17              Page 10 of 33 PageID 148


    Subsequent to the filing of this lawsuit and more specifically, on February 12, 2017,

Plaintiff embarked on an international travel to Nigeria. On February 27, 2017, Plaintiff

arrived at the Dallas/Fort Worth International airport on board Lufthansa Flight No. 438.

While going through the US Customs and Border Protection formalities, Plaintiff was yet

again referred for secondary inspection. During the secondary inspection, Plaintiff was again

detained and questioned by agents of CBP with his cell phone, luggage and carry-on bag

subjected to very thorough and rigorous search, much to the detriment, inconvenience,

harassment and humiliation of Plaintiff. While undergoing secondary inspection, the CBP

agent ordered the Plaintiff to empty and place all the content in his pocket on a table. As

ordered, the Plaintiff complied and placed all the contents of his pocket, including his cell

phone, on the table. Thereafter, the agent painstakingly subjected Plaintiff’s cell phone to

rigorous examination and went through Plaintiff’s text messages and emails. Meanwhile,

Plaintiff’s cell phone contained private and sensitive materials which he did not intend to

expose to view by others without his consent. The private and sensitive materials included

personal and private information as well as confidential and privileged information

concerning his work on behalf of his clients which he chose to record or store in his cell

phone. As in the past, Plaintiff was not asked for his consent and was not presented with a

search warrant. Nor was he provided with any explanation of the purpose of the painstaking

examination of his cell phone. Thereafter, the agents continued to detain the Plaintiff and

questioned the Plaintiff for approximately three hours. Again is in the past, they questioned

Plaintiff regarding his background, personal life and purpose of his trip to Nigeria.

Significantly, Plaintiff was never asked any questions relating to border control, customs,

trade, immigration, or terrorism, and at no point did the agents suggest that Plaintiff had



                                              4
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 11 of 33 PageID 149


broken the law or that his cell phone contained any illegal material.


LEGAL STANDARD

       The Supreme Court has clarified the law with respect to what a plaintiff must plead in

order to survive a Rule 12(b)(6) motion. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 127 S.Ct.

1955, 167 L.Ed.2d 929 (2007). The Court stated that “a plaintiff's obligation to provide the

grounds of his entitlement to relief requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Id. at 1964–65 (citations and

quotation marks omitted). Additionally, the Court emphasized that even though a complaint

need not contain “detailed” factual allegations, its “[f]actual allegations must be enough to

raise a right to relief above the speculative level on the assumption that all the allegations in

the complaint are true.” Id. (internal citation and quotation marks omitted). In so holding, the

Court disavowed the oft-quoted Rule 12(b)(6) standard of Conley v. Gibson, 355 U.S. 41, 45–

46, 78 S. Ct. 99, 2 L.Ed.2d 80 (1957) (recognizing “the accepted rule that a complaint should

not be dismissed for failure to state a claim unless it appears beyond doubt that the plaintiff

can prove no set of facts in support of his claim which would entitle him to relief”),

characterizing that rule as one “best forgotten as an incomplete, negative gloss on an accepted

pleading standard.” Twombly, 550 U.S. at 563.


ARGUMENT

       The legal question in this case is whether the government can, without any suspicion,

take an American’s electronic devices from him at the border in order to make copies, retain

the copied information indefinitely, examine and analyze the information, and share that

information with other parts of the federal government and potentially with foreign

governments as well, without the citizen’s consent, and without providing any explanation of
                                               5
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                 Page 12 of 33 PageID 150


the reasons behind this unlawful acts.


         At the outset, it is significant and very pertinent to note that the government does not

contest the allegations contained in the Plaintiff’s Complaint. Instead, the government asks

this Court to dismiss this case, because neither the Fourth Amendment’s prohibition on

unreasonable searches and seizures nor the First Amendment’s protections for expressive

records and association pose a bar to these actions arguing that, first, the Plaintiff “lacks

standing to obtain the equitable relief he seeks, because the fact that Anibowei was exposed to

allegedly illegal conduct in the past is not sufficient to entitle him to litigate any claim in

federal court absent some showing that the allegedly illegal act will be repeated against him

in the future,” and secondly, because “Anibowei has failed to state a claim upon which relief

can be granted because neither the Fourth Amendment nor the First Amendment requires a

showing of reasonable suspicion before an electronic device can be searched at the border”.

(Defendants’ Motion to Dismiss, pages …….)


    I.      Plaintiff has Legal Standing

         The law of standing has its roots in Article III’s case and controversy requirement. See

Summers v. Earth Island Institute, 555 U.S. 488, 492-93 (2009); DaimlerChrysler

Corporation v. Cuno, 547 U.S. 332, 340-41 (2006). The U.S. Supreme Court has established a

three-part test for standing. The “irreducible constitutional minimum of standing” requires the

plaintiff to establish:

         First, an “injury in fact”—an invasion of a legally protected interest which is (a)

concrete and particularized, and (b) “actual or imminent,” not “conjectural” or “hypothetical.”

Second, there must be a causal connection between the injury and the conduct complained of -

the injury has to be “fairly ... trace[able] to the challenged action of the defendant, and not ...

                                                6
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                  Page 13 of 33 PageID 151


th[e] result [of] the independent action of some third party not before the court.” Third, it must

be “likely,” as opposed to merely “speculative,” that the injury will be “redressed by a

favorable decision.” See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992); see also

Summers, 555 U.S. at 493.

        Inherent in the constitutional limitation of judicial power on cases and controversies is

the requirement of “concrete adverseness” between the parties to a lawsuit. The Supreme

Court requires that plaintiff establish that the challenged conduct caused or threatens to cause

them an injury in fact to judicially cognizable interests. By establishing that they personally

suffered injury, plaintiffs demonstrate that they are sufficiently associated with the

controversy to be permitted to litigate it. The question of injury raises two questions – (1)

what kinds of injuries count for purposes of standing; and, (2) how certain the injury must be

if it has not yet occurred.

        The Supreme Court has held that, to satisfy the injury in fact requirement, a party

seeking to invoke the jurisdiction of a federal court must show three things: (1) "an invasion

of a legally protected interest," (2) that is "concrete and particularized," (3) "actual or

imminent, not conjectural or hypothetical." See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548

(2016) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)).

        A particularized injury "must affect the plaintiff in a personal and individual way."

Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016). Id. at 1548 (quoting Lujan, 504 U.S. at 560

n.1).

        In the present case, the violation of the Plaintiff’s constitutional rights did occur prior

to the Plaintiff filing the federal lawsuit in this case; and, significantly has again occurred after

the Plaintiff filed this lawsuit. The injury to the Plaintiff is ongoing, and because the Plaintiff



                                                 7
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 14 of 33 PageID 152


is a frequent flyer, as stated in his complaint, (See Doc. 1 at 22-25) there is a real and

immediate threat of repeated injury in the future with no end in sight. Therefore, the Plaintiff

has clearly met the conditions set by the Supreme Court in Lujan v. Defenders of Wildlife

(Supra). Plaintiff’s case is not based on speculation. Rather it is based on actual injury pre and

post Plaintiff’s lawsuit.

          The Plaintiff therefore respectfully request that this honorable Court must hold that

Plaintiff has the requisite legal standing to bring this suit. This is especially so considering

that the government has not denied the wrongdoing to the Plaintiff. It has only claimed

unquestionable right to violate Plaintiff’s constitutional rights. As Plaintiff’s First Amended

Complaint shows, the fact that the Plaintiff is already seeking the protection of the court to

enforce his constitutionally protected rights did not deter the government to continue to

violate the Plaintiff’s rights for no apparent reason whatsoever by repeating the illegal conduct

complained of in this case even after the filing to this law suit. Basically, the Plaintiff has

demonstrated a continuing harm or at the very least, a real and immediate threat of repeated

injury in the future. Therefore, this court must hold that Plaintiff has legal standing to bring

the instant action.

    II.      The Court must accept the non-conclusory factual allegations in the
             complaint as true.

          To survive a motion to dismiss, a complaint “must ‘give the defendant fair notice of

what the . . . claim is and the grounds upon which it rests,’ and allege ‘a plausible entitlement

to relief.’’ Decotiis v. Whittemore, 635 F.3d 22, 29 (1st Cir. 2011) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555, 559 (2007)). The Court accepts non-conclusory factual

allegations in the complaint as true, Ocasio-Hernández v. Fortuño-Burset, 640 F.3d 1, 12 (1st

Cir. 2011), and “draw[s] all reasonable inferences in favor of the plaintiff[ ].” Gargano v.

                                                8
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 15 of 33 PageID 153


Liberty Int’l Underwriters, Inc., 572 F.3d 45, 48 (1st Cir. 2009). “While a complaint attacked

by a Rule 12(b)(6) motion to dismiss does not need detailed factual allegations, a plaintiff's

obligation to provide the grounds of his entitlement to relief requires more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

Twombly, 550 U.S. at 545 (internal quotation marks and citations omitted). However,

considering a motion to dismiss “is neither the time nor the place to resolve the factual

disputes between the parties. Whether [the plaintiff] can prove what he has alleged is not the

issue. At this stage of the proceeding, we must take the complaint’s factual allegations as

true,” as long as they paint “a plausible picture.” Haley v. City of Boston, 657 F.3d 39, 52 (1st

Cir. 2011).

       Considering that the court must take the complaint’s factual allegations as true, it is

necessary to examine Plaintiff’s Factual Allegations, which must be taken as true.

       October 10, 2016, after a short vacation in Canada, Plaintiff arrived at the Dallas/Fort

Worth International Airport on board American Airlines Flight No. 2609. Upon arrival at the

gate and as passengers were getting ready to disembark, the airline crew directed all

passengers to return to their respective seats as officers of DHS were at the gate to remove a

passenger and that it was important they did so in an orderly manner. Almost immediately all

passengers including the Plaintiff returned to their assigned seats, one of the crew members

walked up to the Plaintiff’s seat and requested some identification. As soon as Plaintiff

tendered his passport, he was informed that the CBP officers were actually at the gate for the

Plaintiff. Plaintiff was then instructed to pick up his hand luggage and accompany the

crewmember to the gate of the aircraft. The Plaintiff readily complied with the instruction and

followed the crewmember to the gate. Upon exiting the Plane, Plaintiff was accosted by



                                               9
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 16 of 33 PageID 154


armed officers of the CBP who stated that they were with the Department of Homeland

Security and requested that the Plaintiff accompany them. Despite repeated requests, the two

agents did not explain the reason or the authority for detaining Plaintiff. Instead, they ordered

the Plaintiff to place his cell phone in his pocket for “officer safety” and proceeded to escort

the Plaintiff like a common criminal through at least three terminals before arriving at their

final destination, which is an interrogation room in Terminal D of the Dallas/Fort Worth

International Airport.

       At the interrogation room, the agents ordered the Plaintiff to empty and place all the

content in his pocket on a table. The Plaintiff placed all the contents of his pocket on the table

as ordered. Thereafter, one of the agents took Plaintiff’s cell phone and directed him to be

seated and wait. When the agent returned a short time later, she was no longer in possession of

Plaintiff’s cellular phone. When Plaintiff asked for his cell phone, he was informed that his

cell phone was being detained for “examination and copying”. Plaintiff was not asked for his

consent and was not presented with a search warrant. Nor was he provided with any

explanation of the purpose of the detention and copying. As authority for taking his cell phone

for examination and copying, he was simply handed a two paged document entitled:

Inspection of Electronic Device, copy of which is herewith attached and incorporated herein

by reference.

       Thereafter, the agents continued to detain the Plaintiff and questioned the Plaintiff for

approximately two hours. They questioned Plaintiff regarding his background, personal life

and purpose of his trip to Canada. Significantly, Plaintiff was asked no questions relating to

border control, customs, trade, immigration, or terrorism, and at no point did the agents

suggest that plaintiff had broken the law or that his cell phone contained any illegal material.



                                               10
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 17 of 33 PageID 155


Plaintiff answered their questions truthfully and to the best of his ability. When Plaintiff was

finally allowed to leave, they returned his cell Phone and informed the Plaintiff that its

contents have been copied for examination. However, they did not indicate what information

had been copied from his cell phone, what agencies or individuals would have access to any

copies made, and whether any such copies would ultimately be destroyed or stored.

Significantly, the government has not disputed Plaintiff’s Factual allegations.

       As Plaintiff’s First Amended Complaint shows, subsequent to the filing of this

lawsuit and more specifically, on February 12, 2017, Plaintiff embarked on an international

travel to Nigeria. On February 27, 2017, Plaintiff arrived at the Dallas/Fort Worth

International Airport on board Lufthansa Flight No. 438. While going through the US

Customs and Border Protection formalities, Plaintiff was yet again referred for secondary

inspection. During the secondary inspection, Plaintiff was again detained and questioned by

agents of CBP with his cell phone, luggage and carry-on bag subjected to very thorough and

rigorous search, much to the detriment, inconvenience, harassment and humiliation of

Plaintiff. While undergoing secondary inspection, the CBP agent ordered the Plaintiff to

empty and place all the content in his pocket on a table. As ordered, the Plaintiff complied

and placed all the contents of his pocket, including his cell phone, on the table. Thereafter,

the agent painstakingly subjected Plaintiff’s cell phone to rigorous examination and went

through Plaintiff’s text messages and emails. Meanwhile, Plaintiff’s cell phone contained

private and sensitive materials which he did not intend to expose to view by others without

his consent. The private and sensitive materials included personal and private information as

well as confidential and privileged information concerning his work on behalf of his clients

which he chose to record or store in his cell phone. As in the past, Plaintiff was not asked for



                                               11
Case 3:16-cv-03495-D Document 9 Filed 03/27/17               Page 18 of 33 PageID 156


his consent and was not presented with a search warrant. Nor was he provided with any

explanation of the purpose of the painstaking examination of his cell phone. Thereafter, the

agents continued to detain the Plaintiff and questioned the Plaintiff for approximately three

hours. Again, as in the past, they questioned Plaintiff regarding his background, personal life

and purpose of his trip to Nigeria. Significantly, Plaintiff was never asked any questions

relating to border control, customs, trade, immigration, or terrorism, and at no point did the

agents suggest that Plaintiff had broken the law or that his cell phone contained any illegal

material.

            Accepting the non-conclusory factual allegations in the complaint as true, the

Plaintiff has clearly stated a claim upon which relief could be granted and the Court must so

hold.




   III.     Some level of suspicion is Required for seizing, searching and copying US
            citizen Traveler’s electronic devices at the Border

   The Fourth Amendment guarantees “the right of the people to be secure in their

persons…. and effects, against unreasonable searches and seizures, shall not be violated, and

no warrants shall issue, but upon probable cause . . . .” U.S. CONST. amend. IV. Although

searches must be reasonable, “the Fourth Amendment’s balance of reasonableness is

qualitatively different at the international border than in the interior.” United States v.

Montoya de Hernandez, 473 U.S. 531, 538 (1985). The Fourth Amendment’s balancing test of

interests leans heavily toward the government at the border. See United States v. Ramsey, 431

U.S. 606, 619 (1977). This is so because “the United States, as sovereign, has the inherent

authority to protect, and a paramount interest in protecting, its territorial integrity.” United
                                              12
Case 3:16-cv-03495-D Document 9 Filed 03/27/17              Page 19 of 33 PageID 157


States v. Flores-Montano, 541 U.S. 149, 153 (2004); see also Carroll v. United States, 267

U.S. 132, 154 (1925) (concluding that “[t]ravelers may be so stopped in crossing an

international boundary because of national self-protection reasonably requiring one entering

the country to identify himself as entitled to come in, and his belongings as effects which may

be lawfully brought in”). Because searches at the border are conducted pursuant to the

government’s longstanding right to protect itself, the Supreme Court has stated that such

searches are “reasonable simply by virtue of the fact that they occur at the border.” Flores-

Montano, 541 U.S. at 152-53 (quoting Ramsey, 431 U.S. at 616). That is, “[r]outine searches

of the persons and effects of entrants [into the United States] are not subject to any

requirement of reasonable suspicion, probable cause, or warrant . . . . ” Montoya de

Hernandez, 473 U.S. at 538; see also United States v. Barrow, 448 F.3d 37, 41 (1st Cir.

2006).

   The Supreme Court, however has recognized certain limitations to the border search

power to conduct routine searches without some level of suspicion. First, customs officials

need some level of suspicion to conduct “highly intrusive searches” implicating the “dignity

and privacy interests” of a person such as body cavity or strip searches. See Flores-Montano,

541 U.S. at 152 (holding that the removal, disassembly and reassembly of a vehicle’s fuel

tank at the border did not require particularized suspicion). The Supreme Court has described

strip, body cavity, or involuntary x-ray searches as “nonroutine border searches” but expressly

declined to suggest “what level of suspicion, if any, is required” for these searches. Montoya

de Hernandez, 473 U.S. at 541 n. 4. Second, other than “highly intrusive searches of the

person,” Flores-Montano, 541 U.S. at 152, the Supreme Court has left open the question

“whether, and under what circumstances, a border search might be deemed ‘unreasonable’



                                              13
Case 3:16-cv-03495-D Document 9 Filed 03/27/17               Page 20 of 33 PageID 158


because of the particularly offensive manner in which it was carried out,” Id. at 155, n. 2

(quoting Ramsey, 431 U.S. at 618 n.13), but has not defined the precise contours of a search

carried out in such a manner. Third, the Supreme Court has suggested the possibility that

“some searches of property are so destructive as to require” some level of suspicion. Flores-

Montano, 541 U.S. at 155-56.

       The Plaintiff contends that the seizure, search, and copying of his cell phone was

highly intrusive given the personal nature and quality of information stored on the device and

because the search was conducted in a particularly offensive manner and such “non-routine”

search would only have comported with the Fourth Amendment if the agents had some level

of suspicion.

       The Defendants do not argue that the agents had reasonable suspicion or any reason to

conduct the search and seizure but rather rely on the argument that none was required. More

specifically, Defendants wrongly contend that they have unreviewable discretion to search the

private information on individual’s electronic device and to seize the device for as long as

they like. There are three reasons why a search of a private electronic device triggers a

reasonable suspicion requirement: (1) It is non-routine (2) It is particularly offensive (3) It

imposes a serious burden on First Amendment activity.

       Electronic devices are not like socks or contact lens solution; they are repositories of

our intimate and private personal information, not just those needed for one trip but a

complete archive of our thoughts for many years. The doctrines Defendants lean on, such as

the closed container doctrine, were developed in a different time and in another context.

       While the two circuits to consider whether suspicion is needed for laptop searches

have concluded that none is necessary, other judges have disagreed for very compelling



                                              14
Case 3:16-cv-03495-D Document 9 Filed 03/27/17              Page 21 of 33 PageID 159


reasons. United States v. Arnold, 523 F.3d 941 (9th Cir. 2008); United States v. Ickes, 393

F.3d 501 (4th Cir. 2005); see also United States v. Linarez-Delgado, 259 Fed. Appx. 508 (3d

Cir. 2007) (reaching same conclusion as to video footage). As Judge Kozinski has written,

suspicionless searches of personal papers at the border runs counter to the “[f]ounders’ deep

concern with safeguarding the privacy of thoughts and ideas-what we might call freedom of

conscience-from invasion by the government.” United States v. Seljan, 547 F.3d 993, 1014

(9th Cir. 2008) (Kozinski, J. dissenting). He explained, “[w]hat makes papers special and the

reason they are listed alongside houses, persons and effects is the ideas they embody, ideas

that can only be seized by reading the words on the page.” Id. at 1017. Although the Ninth

Circuit became the first circuit to authorize a detention of a laptop without reasonable

suspicion, United States v. Cotterman, 637 F.3d 1068 (9th Cir. 2011), it did so over the

forceful dissent of Judge Betty Fletcher, who explained how “seizing one’s personal property

deprives the individual of his valid possessory interest in his property,” and “authorizing a

generalized computer forensic search (untethered to any particularized suspicion) permits the

government to engage in the type of generalized fishing expeditions that the Fourth

Amendment is designed to prevent.” Id. at 1084.

 IV.   The Suspicionless Search of Mr. Anibowei’s Electronic Device Violated His
       Fourth Amendment Rights.

       Plaintiff has alleged that Defendants had no reasonable suspicion to search his

electronic devices and Defendants do not suggest otherwise. Thus, this Court must accept

Plaintiff’s assertion that Defendants searched Plaintiff’s electronic device without suspicion.

Fed. R. Civ. P. 8(b)(6). The Fourth Amendment prohibits the government from searching the

contents of Mr. Anibowei’s electronic devices at the border absent reasonable suspicion, for

three reasons:

                                              15
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 22 of 33 PageID 160


   (1) Because of their invasive nature, searches of electronic devices are “non-routine”

       searches that require reasonable suspicion.


   (2) Suspicionless electronic device searches are unreasonable because of the “particularly

        offensive manner” in which they are carried out.


   (3) Because electronic device searches involve searches of First Amendment-protected

        material, the reasonable suspicion standard is the constitutional minimum


   (1) The Search of Mr. Anibowei’s Electronic Device was Non-Routine

       The border is not a Fourth Amendment-free zone. Although the Supreme Court has

found that the government has broad powers to conduct searches at the border, see United

States v. Ramsey, 431 U.S. 606, 616 (1977), it has also recognized that “non-routine” border

searches require at least reasonable suspicion of wrongdoing, United States v. Montoya de

Hernandez, 473 U.S. 531, 541 (1985). The First Circuit has held that when deciding whether a

search is non-routine, the determining factor is “[t]he degree of invasiveness or intrusiveness.”

See United States v. Braks, 842 F.2d 509, 511 (1st Cir. 1988). There is no question that the

uniquely private and vast amount of information stored on electronic devices renders searches

of these devices highly invasive.

       A search of an electronic device intrudes upon a traveler’s dignity and privacy. With

each passing day, people conduct and store more of their lives on computers, smart phones,

and other electronic devices. These devices are far more than receptacles for private files; they

have become a commonplace part of the daily life of the average person. They are constantly

used to help people think, learn, communicate, associate with others, and keep track of their

own lives and those of their families. See generally Susan W. Brenner, Law in an Era of


                                               16
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 23 of 33 PageID 161


Pervasive Technology, 15 Widener L.J. 667 (2006). A consequence of this new reality is that

these devices also maintain a nearly indelible record of everything their users think or search

for, what they learn or read, what they say to others, and with whom they associate.

       The information stored on Mr. Anibowei’s smart phone, for example, spanned a period

of years and included emails “sent to and from family members and friends and messages

concerning employment related matters, records of his personal finances, computer

programming work in progress, and passwords allowing access to his bank account, his

workplace computer, and privileged communications with his clients”. Given the nature of

information commonly stored on electronic devices, it should come as no surprise that “for

most people, their computers are their most private spaces.” United States v. Gourde, 440 F.3d

1065, 1077 (9th Cir. 2006) (en banc) (Kleinfeld, J., dissenting).

       Electronic devices are the gateway to the Internet and all it has to offer, including

means of communication such as e-mail, instant messaging, and social networks. As the Sixth

Circuit recently noted in holding that individuals have a right to privacy in email:

       “Since the advent of email, the telephone call and the letter have waned in importance,
       and an explosion of Internet-based communication has taken place. People are now
       able to send sensitive and intimate information, instantaneously, to friends, family, and
       colleagues half a world away. Lovers exchange sweet nothings, and businessmen swap
       ambitious plans, all with the click of a mouse button. Commerce has also taken hold in
       email. Online purchases are often documented in email accounts, and email is
       frequently used to remind patients and clients of imminent appointments. In short,
       “account” is an apt word for the conglomeration of stored messages that comprises an
       email account, as it provides an account of its owner’s life. By obtaining access to
       someone’s email, government agents gain the ability to peer deeply into his activities.
       Much hinges, therefore, on whether the government is permitted [access to] a
       subscriber’s emails without triggering the machinery of the Fourth Amendment.”
       United States v. Warshak, 631 F.3d 266, 284 (6th Cir. 2010).

       Suspicionless searches of electronic devices that facilitate, record, and store such

communications undoubtedly implicate heightened concerns of privacy and dignity that



                                               17
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 24 of 33 PageID 162


distinguish the devices from other types of property that travelers may carry across the border.

       The vast quantity of information contained on electronic devices magnifies the privacy

and dignity concerns implicated by a border search. A computer “is akin to a vast warehouse

of information,” and a typical hard drive sold in 2005 can carry data “roughly equivalent to

forty million pages of text-about the amount of information contained in the books on one

floor of a typical academic library.” Orin S. Kerr, Searches and Seizures in a Digital World,

119 Harv. L. Rev. 531, 542 (2005); United States v. Comprehensive Drug Testing, Inc., 621

F.3d 1162, 1175 (9th Cir. 2010) (“[E]ven inexpensive electronic storage media today can

store the equivalent of millions of pages of information.”). Such a vast quantity and variety of

information increases the likelihood that highly personal information will also be searched,

seized, or copied. See Raphael Winick, Searches and Seizures of Computers and Computer

Data, 8 Harv. J.L. & Tech. 75, 104 (1994). As a consequence, individuals’ privacy and

dignity interests in the contents of their laptops and similar electronic devices more closely

resemble the heightened interests associated with private dwelling areas and should be treated

accordingly. Cf. United States v. Cardona- Sandoval, 6 F.3d 15, 21-23 (1st Cir. 1993)

(distinguishing between an individual’s private space and communal public areas of a vessel

in analyzing reasonableness of search at sea); United States v. Whitted, 541 F.3d 480, 489 (3d

Cir. 2008) (requiring suspicion for a border search of a passenger cabin in a vessel); United

States v. Alfonso, 759 F.2d 728, 738 (9th Cir. 1985) (finding that a border search of the private

living quarters on a ship “should require something more than naked suspicion”).

       The reasonable suspicion standard is not novel. It is a longstanding and familiar

standard that border agents already apply in cases of personally invasive searches. Moreover,

the vast number of cases finding reasonable suspicion to justify border searches of electronic



                                               18
Case 3:16-cv-03495-D Document 9 Filed 03/27/17               Page 25 of 33 PageID 163


devices belies Defendants’ suggestion that applying the standard would thwart border agents’

ability to effectively police the borders. See, e.g., United States v. Irving, 452 F.3d 110, 124

(2d Cir. 2006); United States v. Roberts, 274 F.3d 1007, 1012 (5th Cir. 2001); United States v.

Bunty, 617 F. Supp. 2d 359, 365 (E.D. Pa. 2008); United States v. Hampe, No. 07-3-B-W,

2007 WL 1192365, at *4 (D. Me. Apr. 18, 2007), aff’d No. CR-07-3-B- W, 2007 WL

1806671 (D. Me. June 19, 2007); United States v. Furukawa, No. 06-145 (DSD/AJB), 2006

WL 3330726, at *2 (D. Minn. Nov. 16, 2006); cf. Whitted, 541 F.3d. at 489 (“Reasonable

suspicion is not a high standard that will prevent customs officers from detecting drug

smugglers at our borders.”).

   (2) The Search of Mr. Anibowei’s Electronic Devices was particularly offensive in
       Manner

       In Ramsey, the Supreme Court stated that a border search may be constitutionally

objectionable “because of the particularly offensive manner in which it is carried out.” 431

U.S. at 618 n.13. Citing to cases in which the Court had limited the extent to which the

government could conduct broad-ranging searches or seizures incident to arrest, the Court

suggested that the offensiveness of the execution of a search may violate the Constitution. Id.

Laptop searches are similarly offensive in manner.

       As described above, electronic devices contain vast quantities of deeply personal and

sensitive information. Several federal courts have recognized that because electronic device

searches risk devolving into exploratory rummaging through this personal and sensitive

information, judicial officers must engage in “greater vigilance . . . in striking the right

balance between the government’s interest in law enforcement and the right of individuals to

be free from unreasonable searches and seizures.” Comprehensive Drug Testing, Inc., 621

F.3d at 1177 (upholding ex ante limits on the execution of warrants to search electronic

                                              19
Case 3:16-cv-03495-D Document 9 Filed 03/27/17              Page 26 of 33 PageID 164


devices); accord United States v. Carey, 172 F.3d 1268, 1275 (10th Cir. 1999); In re Search

of 3817 W. West End, 321 F. Supp. 2d 953, 958-59 (N.D. Ill. 2004); United States v. Hunter,

13 F. Supp. 2d 574, 584 (D. Vt. 1998). Although these cases did not involve border searches,

they are informed by the very Fourth Amendment concerns about fishing expeditions that the

Ramsey Court warned might render a border search unreasonable. Defendants’ claim of

authority to roam through Mr. Anibowei’s electronic devices without reasonable suspicion

must fail.

   (3) The Search of Mr. Anibowei’s Electronic Device Burdened his Expressive and
       Associational interests

       Electronic device searches invariably involve examining an extensive amount of

expressive and associational material, and the search of Mr. Anibowei’s electronic devices

was particularly troubling because of the unquestionable burden it places of on his Expressive

and Associational interests. When a search or seizure burdens First Amendment interests,

those interests must be considered in determining whether the search or seizure is reasonable.

Because they implicate expressive and associational interests, conducting searches and

seizures of electronic devices in the absence of suspicion is unreasonable and violates the

Fourth Amendment.

       Not all searches and seizures are the same; “[a] seizure reasonable as to one type of

material in one setting may be unreasonable in a different setting or with respect to another

kind of material.” Roaden v. Kentucky, 413 U.S. 496, 501 (1973). As Roaden held, seizures of

expressive materials, such as “books and movie films,” are “to be distinguished from”

seizures of “instruments of a crime” or “contraband” in appraising reasonableness. Id. at 502

(quotation marks omitted). Examining reasonableness “in the light of the values of freedom of

expression,” the Court required police to obtain a warrant to seize expressive materials even

                                             20
Case 3:16-cv-03495-D Document 9 Filed 03/27/17               Page 27 of 33 PageID 165


though one would not otherwise have been required. Id. at 504. Courts have held that

associational material is likewise entitled to heightened procedural protections. See, e.g.,

NAACP v. Alabama ex rel. Patterson, 357 U.S. 449, 460-61 (1958).

       Searches that implicate First Amendment-protected materials therefore require the

application of heightened Fourth Amendment requirements, up through and including a

warrant and probable cause, even where those requirements might not otherwise apply.

Roaden at 501- 04; see also Maryland v. Macon, 472 U.S. 463, 468 (1985) (“First

Amendment imposes special constraints on searches for and seizures of presumptively

protected material.”). Relatedly, the Fourth Amendment’s procedural protections must be

applied with “scrupulous exactitude” when a search implicates expressive materials. See

Zurcher v. Stanford Daily, 436 U.S. 547, 564 (1978); Stanford v. Texas, 379 U.S. 476, 485

(1965). Because searching electronic devices implicates expressive and associational interests,

more procedural protections are required than may typically apply to unprotected materials

searched at the border. While these cases did not involve the border, the border is not a Fourth

amendment-free zone especially as it affects a United States citizen. The Supreme Court has

repeatedly rejected the proposition that the border is a Fourth Amendment-free zone, see, e.g.,

Montoya de Hernandez, 473 U.S. at 537-38, and has suggested that government intrusions

that implicate expressive conduct, even at the border, should be policed especially carefully

by courts, see, e.g., Ramsey, 431 U.S. at 624 (suggesting that “full panoply of Fourth

Amendment requirements” might be applicable where government searches implicate

expressive rights or threaten to “chill” expressive conduct (citing, inter alia, Roaden and

Stanford)).

   In sum, searching electronic devices is different than searching ordinary luggage, and Mr.



                                              21
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                 Page 28 of 33 PageID 166


Anibowei did not lose his right to privacy in expressive and associational materials simply

because he crossed the border. Cf. Lamont v. Postmaster Gen., 381 U.S. 301, 305 (1965)

(holding that restrictions on unfettered delivery of mail from abroad infringed addressees’

First Amendment rights).

   V. Defendants’ Actions violated the First Amendment

   Mr. Anibowei’s smart phone and other electronic devices contained private and sensitive

materials some of which are privileged and confidential communications between Attorney

and Client that he did not intend to expose to view by others without his consent, including

personal and private information and information concerning his work on behalf of his clients.

The devices contained his personal e-mail communications covering a period of several years,

including messages sent to and from family members and friends, records of his personal

finances, passwords allowing access to his bank account, to his workplace computer, and to

secure communications websites, and more importantly, privileged communications between

him as an Attorney and his clients. The seizure and retention of this information and its

dissemination to other governments, agencies, private entities, individuals, or the public at

large will not only adversely affect the Plaintiff, but may also affect his innocent clients.

       The government’s actions have violated Mr. Anibowei’s First Amendment right to

association.   Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009). The Government seeks outright

dismissal of Plaintiff’s claim but the seizure, copying and dissemination of sensitive and

privileged material on his smart phone violates the right of association guaranteed by the First

Amendment. Defendants’ position oversimplifies the Iqbal standard, and understates the

intrusion on First Amendment rights. As the Court has recently noted, dismissal of a

complaint pursuant to Rule 12(b)(6) is inappropriate if properly pleaded allegations of fact



                                                22
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 29 of 33 PageID 167


state a facially plausible legal claim. Belyea v. Litton Loan Servicing, LLP, Civ. Action No.

10-10931-DJC, 2011 WL 2884964, at *1 (D. Mass. July 15, 2011) (citing Ocasio–Hernández

v. Fortuño–Burset, 640 F.3d 1, 11-12 (1st Cir. 2011)). Plausibility is highly contextual,

“dependent on the particular claims asserted, their elements, and the overall factual picture

alleged in the complaint.” Chao v. Ballista, 630 F. Supp. 2d 170, 177 (D. Mass. 2009).

           Plaintiff has alleged that the information was copied and retained by the Defendants

and the information so copied has been disseminated to other government agencies including

the “non-DHS Defendants”, but the Motion to Dismiss filed by the government does not

address the allegation that the information was shared with and retained by other agencies of

the federal government. That allegation must therefore be taken as true for purposes of

Defendants’ Rule 12(b)(6) motion. The complaint alleges that the data that was copied,

shared, and retained contained important and sensitive information about the Plaintiff and his

family, including privileged and confidential communications between the Plaintiff and his

clients.

           These allegations fairly meet Iqbal’s requirements. Courts have recognized time and

again that the harms which Defendants describe as mere “speculation….about what [Plaintiff]

thinks may happen” are sufficient to establish a burden on fundamental rights. “[C]ompelled

disclosure, in itself, can seriously infringe on privacy of association and belief guaranteed by

the First Amendment.” Buckley v. Valeo, 424 U.S. 1, 64 (1976). This is obviously true in

cases where the threat of imminent harm has been shown on the record, e.g, NAACP v.

Alabama, 357 U.S. at 462; Bates v. City of Little Rock, 361 U.S. 516, 521-522 (1960), but has

been recognized as well where the concern was less extensively supported, e.g., Shelton v.

Tucker, 364 U.S. 479, 485-86 (1960) (“to compel a teacher to disclose his every associational



                                                23
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                  Page 30 of 33 PageID 168


tie is to impair that teacher’s right of free association”), and in cases where there has been no

record of retaliation, see Talley v. California, 362 U.S. 60, 65 (1960) (blanket prohibition of

anonymous handbills invalidated because fear of reprisal might deter discussion of public

matters); Pollard v. Roberts, 283 F. Supp. 248, 258 (E.D. Ark. 1968) (3 judge court), aff’d per

curiam 393 U.S. 14 (1968) (no evidence that any individuals had been subjected to reprisals

on account of support for Republican candidates); Johnson v. Wash. Times Corp., 208 F.R.D.

16, 17-18 (D.D.C. 2002) (general claim of bigotry against members of a “controversial”

church sufficient)

       The Second Circuit’s opinion in Tabbaa, 509 F.3d at 89, although ultimately resolved

in favor the government, supports Plaintiff’s position here. The court found that an extended

border stop of individuals returning from an Islamic conference in Canada, involving

detention for several hours, questioning, photographing, and fingerprinting, while not

exceeding the bounds of a routine search, was sufficient to implicate the protections of the

First Amendment because “the prospect of being singled out for such extensive processing

could reasonably deter others from associating at similar conferences.” Id. at 102.

       The First Amendment claim was rejected only because the government had presented

sufficient evidence to establish that it had a compelling interest in preventing terrorists who

had attended the conference from entering the United States. Id. at 103. Here, however, the

government has made no claim that the seizure and retention of information from the

Plaintiff’s electronic device was justified for any reason other than the fact that it took place at

the border.

       The government’s search of Plaintiff’s electronic devices burdened his First

Amendment rights because it forced him to reveal to the government his thoughts where those



                                                24
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                Page 31 of 33 PageID 169


thoughts had previously been shielded from observation. Yet the government has failed to put

forth any reasons it had to justify a search of Mr. Anibowei’s electronic devices, other than a

vague and generalized interest in border security. This interest is not sufficient to satisfy the

heightened scrutiny that applies to searches of expressive records.


   VI. Dismissal as to the Non-DHS Defendants is Premature

       As Plaintiff First Amended Complaint clearly shows, the Plaintiff has pleaded facts

pertaining to the four “non-DHS” Defendants including but not limited to the fact that

Plaintiff has every reason to believe that the information obtained from his cell phone has been

disclosed or disseminated to other agencies, organizations, individuals, or foreign

governments, including but not limited to the other four non-DHS Defendants. The

Defendants have not denied this claim or disputed Plaintiff’s allegations. Instead, the

defendants have only claimed that the claims against the other four non-DHS Defendants be

dismissed because they are not involved in the wrongdoing against the Plaintiff. Considering

that the DHS has not denied that the information obtained from Plaintiff’s cell phone has been

disclosed or disseminated to other agencies, organizations, individuals, or foreign

governments, including but not limited to the other four non-DHS Defendants, dismissal of

Plaintiff’s claims against the non-DHS Defendants is clearly premature.



CONCLUSION

       For the foregoing reasons, Plaintiff respectfully submits that the Court should deny the

Defendants’ motion to dismiss.

       Dated this 27th day of March, 2017.




                                               25
Case 3:16-cv-03495-D Document 9 Filed 03/27/17    Page 32 of 33 PageID 170


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                                    26
Case 3:16-cv-03495-D Document 9 Filed 03/27/17                 Page 33 of 33 PageID 171


                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS

                           CERTIFICATE OF SERVICE (CM/ECF)

The undersigned hereby certifies that on March 27, 2017, I electronically filed the foregoing

document with the clerk of the court for the U.S. District Court, Northern District of Texas,

using the electronic case filing system of the court. I also certify that a copy of this document

was served on all parties via the Court’s electronic filing system

                                              Respectfully submitted,


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                                                27
